Case 2:04-cr-20308-.]PI\/| Document 27 Filed 04/25/05 Page 1 of 3 Page|D 40

 

WL,
IN THE UNITED STATES DISTRICT cOURT 05
FOR THE wEsTERN DISTRICT oF TENNESSEE 05£_:1>;§ 25 ;>,/- m
wESTERN DIVISION " “ "'* "`U‘
§§°`.§’;;;:~ jj f¢;; ' m
"“i",’_._“"- ii - J`.
W‘D' ‘-3`# rN, wmang

UNITED STATES OF AMERICA
Plaintiff,

Criminal No. LL£- ZQ§QXMl

(30-Day Continuance)

V'C/d/W//l§€/ P

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at gigg
a.m. on Fridav, MaV 27, 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report
date this 22nd day Of April, 2005.

I`nis document entered On the docket Sheet lr\ ccy'_)i:awu<- ` 7
with mile 55 ana/or 32{=:1) sach on _¢_“£Z'§__*m 2/

Case 2:04-cr-20308-.]PI\/| Document 27 Filed 04/25/05 Page 2 of 3 Page|D 41

SO oRDERED this 22nd day of April, 2005.

_ QM)‘@M¢

JON PHIPPS MCCALLA
UN 'I'ED S'I‘A'I`ES DISTRICT JUDGE

Assistant United States Attorney

 

 

 

 
    

Counsel for Defe dant(s)

 

ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
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Honorable .1 on McCalla
US DISTRICT COURT

